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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In Re: Chaptei_ 1 1
Case No. £- 12221 (KJC)
Debtor; ATD CORPOR/-\TION, et al.

MOTION AND ORDER FOR ADMISSION PRO HAC VICE
Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission pro hac vice
Of I_Indsay Zahradka Mi|ne, Esq.
to represent industries Martins |nc. a/k/a Martins |ndustries

in this action.

   
  

 

'. Husfon, (N@. 4035)
' Nam€ Stevens & Lee, P C.

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CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

Pursuant to Local Rule 9010-1, l certify that I am eligible for admission to this Court, am admitted,
practicing and in good standing as a member of the Bar of l\/|aine and NeW York and submit to the
disciplinary jurisdiction of this Court for any alleged misconduct w ` h occurs in the preparation or course of this
action. I also certify that l am generally familiar With this C 1 ’s I)c al Rules and with Standing Order fox
District Court Fund revised 8/31/16. I further certify th t the nua fee€\f $?/S’OQh\as been paid to the Clerk of

Court for District Court. \

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ORDER GRANTING MOTION

IT IS I-IEREBY ORDERED counsel’s motion for admission pro hac vice is granted

Locz\l Form 105

